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                                        United States District Court
                                             NORTHERN DISTRICT OF TEXAS
                                                  DALLAS DIVISION


 UNITED STA TES OF AMERICA                                        §
                                                                  §
 v.                                                               §     CASE NO. 3: l 9-CR-00037-S
                                                                  §
 PATRICK DOUGLAS BRYANT (01)                                      §

                      ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
                   UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea of Guilty, the Consent
of the defendant, and the Report and Recommendation Concerning Plea of Guilty of the United States Magistrate Judge,
and no objections thereto having been filed within fowteen days of service in accordance with 28 U .S.C. § 636(b )( 1), the
undersigned District Judge is of the opinion that the Report and Recommendation of the Magistrate Judge concerning the
Plea of Guilty is correct, and it is hereby accepted by the Cou1t. Accordingly, the Cou1t accepts the plea of guilty, and
PATRICK DOUGLAS BRYANT is hereby adjudged guilty of 21 U.S.C. § 84l(a)(l) and (b)(l)(C) Possession with
Intent to Distribute a Controlled Substance. Sentence will be imposed in accordance with the Cou1t's scheduling order.

[gJ     The defendant is ordered to remain in custody.

D       The Comt adopts the findings of the United States Magistrate Judge by clear and convincing evidence that the defendant is not
        likely to flee or pose a danger to any other person or the community ifreleased and should therefore be released under§ 3 l 42(b)
        or (c).

D       Upon motion, this matter shall be set for hearing before the United States Magistrate Judge who set the conditions of release
        for determination, by clear and convincing evidence, of whether the defendant is likely to flee or pose a danger to any other
        person or the community if released under§ 3142(b) or (c).

D       The defendant is ordered detained pursuant to 18 U.S.C. § 3143(a)(2). The defendant shall self-surrender to the United States
        Marshal no later than _ _ _ _ _ _ _ _ _ __

D       The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the Court finds
        D       There is a substantial likelihood that a motion for acquittal or new trial will be granted, or
        D        The Government has recommended that no sentence of imprisonment be imposed, and
        D        This matter shall be set for hearing before the United States Magistrate Judge who set the conditions of release for
                 determination, by clear and convincing evidence, of whether the defendant is likely to flee or pose a danger to any
                 other person or the community if released under § 3 I 42(b) or (c).

D       This matter shall be set for hearing before the United States Magistrate Judge who set the conditions ofrelease for determination
        of whether it has been clearly shown that there are exceptional circumstances under§ 3145(c) why the defendant should not
        be detained under§ 3143(a)(2), and whether it has been shown by clear and convincing evidence that the defendant is likely to
        flee or pose a danger to any other person or the community if released under§ 142(b) or (c).

SIGNED this 17 th day of July, 2019.



                                                                        UNITED STATES DISTRICT JUDGE
